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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF NEW YORK

____________________________________
                                    )
JOHN DOE #1, et al.,                )
                                    )
            Plaintiffs,             )
                                    )
      v.                            )            Civil Action No.
                                    )            5:18-CV-0496 (FJS/DEP)
SYRACUSE UNIVERSITY, et al.,        )
                                    )
            Defendants.             )
                                    )
____________________________________)


MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ OBJECTIONS IN PART
   TO MAGISTRATE’S REPORT AND RECOMMENDATION, ECF NO. 74,
  REGARDING PLAINTIFFS’ ABILITY TO PROCEED USING PSEUDONYMS




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        Defendants Syracuse University, Kent Syverud, Robert Hradsky, and Teresa Abi-Nader

Dahlberg respectfully submit this memorandum of law in support of their objections in part, as

identified below, to the Magistrate Judge Peebles’ Report and Recommendation, ECF No. 74,

regarding Plaintiffs’ ability to proceed using “John Doe” pseudonyms.

               BACKGROUND AND IDENTIFICATION OF OBJECTIONS

        1.     Plaintiffs filed their initial Complaint in this matter on April 24, 2018. ECF No. 1.

In their initial Complaint, and in each subsequent Amended Complaint, each Plaintiff has

identified himself only as a “John Doe.” See ECF No. 1 (Complaint); ECF No. 26 (Amended

Complaint); ECF No. 42 (Second Amended Complaint); ECF No. 60 (Third Amended Complaint).

        2.     On June 18, 2018, Defendants filed a motion requesting an order requiring

Plaintiffs to correct the caption of their Complaint and to publicly identify themselves by name, in

accordance with Fed. R. Civ. P. 10(a) (“[t]he title of [a] complaint must name all the parties”) and

Fed. R. Civ. P. 17(a) (“an action must be prosecuted in the name of the real party in interest”).

The requirement of Rule 10(a) “serves the vital purpose of facilitating public scrutiny of judicial

proceedings and therefore cannot be set aside lightly.” Sealed Plaintiff v. Sealed Defendant, 537

F.3d 185, 188-89 (2d Cir. 2008).

        3.     In a Report and Recommendation filed on September 10, 2018, Magistrate Judge

Peebles concluded that Plaintiffs were entitled to proceed using pseudonyms under the narrow,

multi-factor exception to the mandate of Rules 10(a) and 17(a) authorized by Sealed Plaintiff, 537

F.3d at 189. See Report and Recommendation, ECF No. 74. Of the ten factors identified in Sealed

Plaintiff, Magistrate Judge Peebles found that four factors favored disclosure of identity, while six

factors favored allowing Plaintiffs to proceed using pseudonyms. ECF No. 74, at 10-27. In




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addition, with regard to several of the factors, Magistrate Judge Peebles identified considerations

cutting both ways. Id.

        4.     Since the time that Defendants filed their motion under Rules 10(a) and 17(a), there

has been extensive additional litigation in this matter. Of particular relevance to the instant motion,

Defendants have moved to dismiss Plaintiffs’ Second Amended Complaint for failure to state a

claim. ECF No. 44. Subsequently, on August 27, 2018, Defendants filed an Answer to Plaintiffs’

Second Amended Complaint, ECF No. 46, and, accordingly, Defendants’ motion to dismiss should

be treated as a motion for judgment on the pleadings under Fed. R. Civ. P. 12(c). See Patel v.

Contemporary Classics of Bevrly Hills, 259 F.3d 123, 125-26 (2d Cir. 2001). Plaintiffs have

opposed this motion and it remains pending, subject to a scheduling order entered by this Court,

see ECF No. 52; if granted, the motion would result in a dismissal of Plaintiffs’ claims with

prejudice. Plaintiffs, for their part, filed a Third Amended Complaint on August 30, 2018 (without

obtaining leave of court, even though Defendants had answered the Second Amended Complaint),

see ECF No. 60, and Plaintiffs then filed a motion to dismiss this action voluntarily, without

prejudice. See ECF No. 62. Defendants have filed an opposition to this motion and it remains

pending, again subject to a scheduling order entered by this Court, see ECF No. 73; if granted,

Plaintiffs’ motion also would result in a dismissal of Plaintiffs’ claims, but without prejudice.

        5.     Thus, both Defendants and Plaintiffs have motions that are pending that could

resolve this case and remove it from the Court’s docket, either with or without prejudice. With

regard to Defendants’ motion under Rules 10(a) and 17(a), addressed in Magistrate Judge Peebles’

Report and Recommendation, Defendants agree that Plaintiffs should not be required to identify

themselves if either Defendants’ or Plaintiffs’ motion to dismiss is granted, and the case is removed

from the Court’s docket. Thus, although Defendants have objections to Magistrate Judge Peeble’s



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recommendation as identified below, and seek to preserve those objections in the event that this

case proceeds beyond the pending motions to dismiss, Defendants agree that their objections may

be held in abeyance pending this Court’s disposition of those motions.

         6.       In addition, Defendants object to the Report and Recommendation to the extent it

contains certain factual errors, which should be corrected by this Court. First, Magistrate Judge

Peebles reported that “Defendant Hradsky has also stated that the video depicted ‘sexual and

relationship violence.’” Report and Recommendation, ECF No. 74, at 11. In support of this

statement, Judge Peebles cited a declaration of John Doe #1, ECF 5-2, at 9. John Doe claimed that

Mr. Hradsky made the statement referenced by Magistrate Judge Peebles, but Doe #1 provided no

support for his assertion. Plaintiffs make the same assertion in their Third Amended Complaint,

ECF No. 60, at ¶ 47(a), and claim that evidence of the statement is included in Exhibit A to the

Third Amended Complaint, ECF No. 60-1. The statement does not, in fact, appear in that Exhibit

A. In fact, what Mr. Hradsky actually stated is that the University Conduct Board was composed

of students, faculty and staff who are chosen through an application process and are trained in

areas    such     as   sexual   and   relationship   violence,   as   well   as   harassment.   See

http://dailyorange.com/2018/04/su-will-not-publicly-release-names-students-theta-tau-

investigation/.

         7.       Second, Magistrate Judge Peebles reported that the University continued to operate

under Title IX procedures when it addressed the accusations against Plaintiffs. ECF No. 74 at 4

n.2. Although that is technically correct, the Title IX procedures simply provided additional

protections for Plaintiffs, including, but not limited to, the right to hire attorneys as procedural

advisors. See Declaration of Gabriel M. Nugent, ECF No. 20-1, at ¶¶ 18-21. It is important for

the record to be clear, however, that the University dismissed the Title IX charges against



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Plaintiffs, so there is no issue in the case whether Plaintiffs’ conduct violated Title IX. Id. at ¶¶ 27-

35.

                                            ARGUMENT

        In the event this action does proceed, Defendants respectfully submit that Magistrate Judge

Peebles erred in his weighing of the factors in Sealed Plaintiff. For the reasons stated in

Defendants’ underlying memorandum of law in support of their motion, see ECF No. 19-1, which

Defendants respectfully incorporate herein, Defendants object to Judge Peebles’ recommendation

and ask the Court to weigh the ten Sealed Plaintiff factors independently. In particular, if this

action proceeds, there will be heightened public interest in this lawsuit, and there will be even

greater need for each Plaintiff to submit individualized evidence, including potential testimony, in

support of his claims. There is no adequate justification for Plaintiffs to submit such evidence

anonymously, when Plaintiffs admit that the videos at issue already are publicly available on the

Internet, see Report and Recommendation, ECF No. 74, at 3 n.1, and when Plaintiffs themselves

contend they had a right to speak freely and openly with regard to the statements at issue, which

were made in a large group event on campus and had a high likelihood of being disseminated

publicly, as they were.

        In addition, this Court has an independent interest in determining when proceedings before

this Court may be shielded from public observation and scrutiny. Thus, Defendants submit that

this Court may, and should, evaluate independently the ten Sealed Plaintiff factors discussed in the

Report and Recommendation. Several of those factors serve interests of the Court and of the public

at large, and Defendants submit that those factors strongly support the openness of these

proceedings. See, e.g., Greene v. WCI Holdings Corp., 956 F. Supp. 509, 514 (S.D.N.Y. 1997)

aff’d, 136 F.3d 313 (2d Cir. 1998) (stating that “the district judge retains the power to engage



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in sua sponte review of any portion of the magistrate’s report and recommendation, regardless of

the absence of objections” (internal quotation marks omitted)).

        Finally, the factual errors in the Report and Recommendation should be corrected, on the

grounds set forth above. See supra, at ¶¶ 6-7.

                                         CONCLUSION

        For the reasons set forth herein, Defendants respectfully petition this Court to review and

modify Magistrate Peebles’ Report and Recommendation, ECF No. 74, and—if the case proceeds

beyond the pending motions to dismiss—to require Plaintiffs to correct the caption of their

Complaint and to publicly identify themselves by name, in accordance with Fed. R. Civ. P. 10(a)

and Fed. R. Civ. P. 17(a).



Dated: September 24, 2018                            Respectfully submitted,

                                                       /s/ John G. Powers
                                                     _____________________
                                                     John G. Powers

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